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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

MARY L. RINEHART                                                                     PLAINTIFF

v.                                                CIVIL ACTION NO. 3:13-cv-237-NBB-JMV

CONAIR CORPORATION                                                                 DEFENDANT

                                               And

MARY L. ALLISON and STACY A. LITWA                                                  PLAINTIFFS

v.                                                CIVIL ACTION NO. 3:13-cv-238-NBB-SAA

CONAIR CORPORATION                                                                 DEFENDANT

                                             ORDER

       Before the court is a joint motion to consolidate for discovery purposes [8] filed by the

plaintiff in Rinehart v. Conair Corporation., 3:13-cv-237-NBB-JMV. Specifically, the plaintiff

seeks an order consolidating Rinehart with Allison, et al. v. Conair Corporation, 3:13-cv-238-

NBB-SAA, on the grounds that these cases involve the same defendant who is represented by the

same attorney; the plaintiffs in these separate cases are represented by the same attorney; and

both actions arise from the same incident and likely involve some common questions of law and

fact. The court concludes the motion is well taken, and the cases will be consolidated for

discovery and scheduling purposes. They will remain separate for dispositive motion and trial

purposes. Accordingly,

       IT IS ORDERED:

       1. That the plaintiff’s joint motion to consolidate for discovery purposes is hereby

       GRANTED;
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 2. That the above styled cases are consolidated for discovery and scheduling purposes

 only;

 3. That the above styled cases are to remain separate for trial and dispositive motion

 purposes;

 4. That there will be a joint case management conference held on January 16, 2014, and

 the parties will be required to provide draft case management orders for each case

 reflecting mirror deadlines as to all matters other than the final pre-trial conference and

 trial dates, which shall be set separately by the court; and

 5. Rhinehart will be the lead case for purposes of filing discovery and other non-

 dispositive motions and notices.

 SO ORDERED, this 10th day of January, 2014.

                                        /s/ Jane M. Virden
                                        UNITED STATES MAGISTRATE JUDGE
